
Affirmed by unpublished PER CURIAM opinion.
Unpublished opinions are not binding precedent in this circuit.
PER CURIAM:
Dolores F. Anderson and the Dodie Anderson Foundation appeal from the district court’s order affirming the bankruptcy court’s denial of their motion for leave to file a proof of claim beyond the bar date and the disallowance of their claim in the bankruptcy case of National Heritage Foundation, Inc. We have reviewed the record and the briefs filed by the parties and find no reversible error. Accordingly, we grant National Heritage Foundation’s motion to submit the appeal on the briefs and affirm for the reasons stated by the lower courts. Anderson v. Nat’l Heritage Found., Inc., No. 1:10-cv-00039-CMH-IDD (E.D.Va., Sept. 28, 2010). We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.

AFFIRMED.

